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                                                       Court-Appointed Temporary Receiver for Link Motion
                                                       Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                       the United States District Court, Southern District of New
                                                       York

           322 Eighth Avenue Suite 1704 New York, NY 10001 (212) 523 – 0686 rseiden@seidenlawgroup.com

VIA ECF
Hon. Victor Marrero
United States Courthouse
500 Pearl Street
New York, New York 10007

September 26, 2022

       Re:     Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.)

Dear Judge Marrero,

       I write pursuant to your August 25, 2022 Order (ECF 331) which required the parties to submit
a “proposed schedule for conducting an accounting over the receivership.” See ECF 331 at 23. After
meeting and conferring with counsel for the parties, no agreement was reached on the schedule for
the accounting. Therefore, the Receiver respectfully submits its proposed schedule for the
accounting, as follows:

       (1) On or before December 16, 2022, the Receiver will file with the Court an accounting of
           the receivership, together with supporting documentation (the “Accounting”);

       (2) On or before January 13, 2023, the parties may serve on the Receiver requests to
           supplement the Accounting with any additional documentation. If no party requests such
           additional documentation from the Receiver, then the parties will file a joint letter on or
           before January 20, 2023, advising the Court that the Accounting is complete.

       (3) If any party requests supplemental documentation, then:

           (a) the Receiver will endeavor to produce such additional documentation, to the extent it
               is readily accessible to the Receiver, by February 10, 2023. The parties and the
               Receiver agree to negotiate in good faith to resolve any disputes over such additional
               requested documentation;

           (b) On or before February 28, 2023, the parties and the Receiver will (i) file a joint letter
               informing the Court that the Accounting is complete, or (ii) file objections to the
               Accounting, not to exceed three pages. The Accounting will be complete once the
               parties file the joint letter, or on the date on which the Court has made a final
               determination in regard to any objections to the Accounting.




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                                                   York



       Given the fact that the Receiver’s office needs to generate an accounting for a multi-year
complex receivership that covered several jurisdictions, the Receiver believes the above-proposed
schedule is reasonable and respectfully requests the Court to adopt it.




                                                    Respectfully Submitted,




                                                    Robert W. Seiden, Esq.
                                                    Court-Appointed Temporary Receiver for
                                                    Link Motion Inc.




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